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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ALEXANDER CORDERO,                     )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
TSJS PROPERTIES LLC,                   )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, ALEXANDER CORDERO, by and through the

undersigned counsel, and files this, his Complaint against Defendant TSJS

PROPERTIES LLC pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                          JURISDICTION AND VENUE

      1.      This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.      Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                      PARTIES

       3.      Plaintiff ALEXANDER CORDERO (hereinafter “Plaintiff”) is, and

has been at all times relevant to the instant matter, a natural person residing in

Lawrenceville, Georgia (Gwinnett County).

       4.      Plaintiff is a paraplegic and is disabled as defined by the ADA.

       5.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.      Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.      Defendant TSJS PROPERTIES LLC (hereinafter “Defendant”) is a

Georgia limited liability company that transacts business in the state of Georgia

and within this judicial district.

       8.      Defendant may be properly served with process via its registered

agent for service, to wit: Tong Cha, 5430 Jimmy Carter Boulevard, Suite 237,

Norcross, Georgia, 30309.

                            FACTUAL ALLEGATIONS

       9.      On or about February 15, 2022, Plaintiff was a customer at “Papa

John's,” a business located at 5200 Jimmy Carter Boulevard, Norcross, Georgia


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30093.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately sixteen (16) miles from the Facility and

Property.

      12.    Plaintiff regularly travels in the near vicinity of the Facility and

Property.

      13.    Plaintiff’s access to the businesses located at 5200 Jimmy Carter

Boulevard, Norcross, Georgia 30093 (Gwinnett County Property Appraiser’s

parcel number R6190 027), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are


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made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      19.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.    The Facility is a public accommodation and service establishment.

      21.    The Property is a public accommodation and service establishment.

      22.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

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the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,


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advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically


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set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.      The Property lacks a van accessible disabled parking space, in

              violation of section 208.2.4 of the 2010 ADAAG standards

      b.      The accessible parking space on the Property most proximate to

              Suite 5200-B of the Facility is missing proper identification

              signage, in violation of section 502.6 of the 2010 ADAAG

              standards.

      c.      The accessible parking space on the Property most proximate to

              Suite 5200-B of the Facility is not adequately marked, in

              violation of section 502.1 of the 2010 ADAAG standards.

      d.      The access aisle adjacent to the accessible parking space most

              proximate to Suite 5200-B of the Facility has inadequate

              dimensions, in violation of section 502.3 of the 2010 ADAAG


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        standards. Specifically, this access aisle is too narrow.

e.      The access aisle adjacent to the accessible parking space on the

        Property most proximate to Suite 5200-B of the Facility is not

        level due to the presence of a ramp within the boundaries of

        said access aisle, in violation of section 502.4 of the 2010

        ADAAG standards.

f.      There is an excessive vertical rise at the base of the above-

        described accessible ramp on the Property most proximate to

        Suite 5200-B of the Facility, in violation of section 405.7 of the

        2010 ADAAG standards. This ramp also lacks finished edges

        (or edge protection), in violation of section 405.9 of the 2010

        ADAAG standards.

g.      The accessible parking space on the Property most proximate to

        Suite 3 of the Facility is missing proper identification signage,

        in violation of section 502.6 of the 2010 ADAAG standards.

h.      The access aisle adjacent to the accessible parking space most

        proximate to Suite 3 of the Facility has inadequate dimensions,

        in violation of section 502.3 of the 2010 ADAAG standards.

        Specifically, this access aisle is too narrow.


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i.      The access aisle adjacent to the accessible parking space on the

        Property most proximate to Suite 3 of the Facility is not level

        due to the presence of a ramp within the boundaries of said

        access aisle, in violation of section 502.4 of the 2010 ADAAG

        standards.

j.      There is an excessive vertical rise at the base of the above-

        described accessible ramp on the Property most proximate to

        Suite 3 of the Facility, in violation of section 405.7 of the 2010

        ADAAG standards. This ramp also lacks finished edges (or

        edge protection), in violation of section 405.9 of the 2010

        ADAAG standards.

k.      The accessible parking space on the Property most proximate to

        the “Papa John’s” portion of the Facility is missing proper

        identification signage, in violation of section 502.6 of the 2010

        ADAAG standards.

l.      The access aisle adjacent to the accessible parking space most

        proximate to the “Papa John’s” portion of the Facility has

        inadequate dimensions, in violation of section 502.3 of the 2010

        ADAAG standards. Specifically, this access aisle is too narrow.


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m.      The access aisle adjacent to the accessible parking space on the

        Property most proximate to the “Papa John’s” portion of the

        Facility is not level due to the presence of a ramp within the

        boundaries of said access aisle, in violation of section 502.4 of

        the 2010 ADAAG standards. The side flare of this ramp also

        protrudes into the boundaries of the adjacent accessible parking

        space, in violation of section 502.4 of the 2010 ADAAG

        standards.

n.      There is an excessive vertical rise at the landing of the above-

        described accessible ramp on the Property most proximate to

        the “Papa John’s” portion of the Facility, in violation of section

        405.7 of the 2010 ADAAG standards. This ramp also lacks

        finished edges (or edge protection), in violation of section 405.9

        of the 2010 ADAAG standards.

o.      Upon information and good faith belief, Defendant fails to

        adhere to a policy, practice and procedure to ensure that all

        features and facilities at the Facility and Property are readily

        accessible to, and usable by, disabled individuals.

32.     Without limitation, the above-described violations of the ADA and


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ADAAG made it more difficult for Plaintiff to exit and re-enter his vehicle while

on the Property, and more difficult and dangerous for Plaintiff to utilize the ramps

servicing the Property.

      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      34.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      35.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.    Upon information and good faith belief, the removal of the physical


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barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.


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WHEREFORE, Plaintiff prays as follows:

(a)   That the Court find Defendant in violation of the ADA and ADAAG;

(b)   That the Court issue a permanent injunction enjoining Defendant from

      continuing its discriminatory practices;

(c)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: March 8, 2022.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
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                                Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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